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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                    Plaintiffs,

                            v.                           ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                   Defendants.


          This matter is set for trial from October 25 to November 19, 2021. Finding that doing so

   will support efficient conduct of the trial in this case, and as a measure to ensure juror safety and

   security, and consistent with measures undertaken to reduce risk of spread of COVID-19, it will

   be ORDERED that the jurors will be provided lunch each day of trial at the U.S. Courthouse in

   Charlottesville, at Court expense.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record and to

   the U.S. Marshals Service.




                                                   DATED: October 15, 2021
